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             DEP�TMENT OF CLASSICS
             The University of Texas at Austin

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                                                                            October 7, 2020

Dear Ms. Yarrow:

Colleagues have drawn my attention to a blog you posted about a week ago titled "On
Pedophilia and Classics." In this article, you identify four men as "documented pedophiles"
and proceed to infer that I am also one. Such an assertion is what attorneys call per se
defamation in the case of the first four and at the very least per quad defamation in my own
case. I must therefore insist that you withdraw this blog in its entirety and make no further
statements suggesting that I am in any way guilty of anything unless I am so adjudicated by
a court of law.

Your deficient knowledge of the subject is embarassing to see in any credible academic
professional. You do not even appear to know the actual definition of "pedophilia" that is
universally accepted by behavioral and social scientists, namely the definition supplied by
the Diagnostic Statistical Manual of the American Psychiatric Association, 5th edition (DSM­
V). Those of us who actually work in this area understand that pedophilia, hebephilia, and
ephebophilia (= Greek pederasty) are distinct phenomena that seldom occur in the same
individual. Only the first is classified as a disorder by DSM-V. Scholars have a responsibility
to use scientific terms properly. If they don't know the scientific definition of a word, they
should avoid using it.

Your documentation of the first four "documented pedophiles" is very thin indeed. The
article to which you link in no way proves that Clifford Hindley sent government money to
PIE out of any sympathy for the organization or that sending the money was his idea. It
merely contains the vague memory of an aged civil servant about seeing a spreadsheet over
30 years ago that no longer exists about a money transfer that has never been documented,
and remembering Hindley having said it was sent due to a request from Special Branch so
they could implant a credible spy in the organization for law enforcement purposes.

Andrew Dyck's case concerned a 13-year old girl (at the upper end of the hebephilic range)
with whom he never had in-person contact. It is not even clear that he knew she was 13
when he corresponded with her, or that his conversation turned sexual before a police
agent provocateur began impersonating her and leading him on. I met him and his
attractive Asian-American wife around that time and had no sense that they were anything
but a happy couple. If he only got six months in a plea bargain, there must have been some
serious problems with the prosecution's case (likely enabling an entrapment defense), as
the usual sentence for this class of offense is much longer.



                                         EXHIBIT I
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The other two cases you mention were prosecutions for possession of illegal images. The
criminological scholarship is clear that there is no causal connection between possession of
these images and commission of actual illegal acts upon children. The percentage of men
who are found to access these images online and are later found to have molested children
is very small. Indeed, during the decade or so that such images were fully legal in some
European countries like Denmark and Czechoslovakia, and the longer period when they
were legal in Japan, rates of actual child molestation went down, and then rose again after
the images were banned. I in no way defend people who create or share certain images, but
civil libertarians are concerned about the misuse of child pornography laws to seize
legitimate art work, such as the photography of Will McBride, Jock Sturges, or Sally Mann,
or anthropological records, such as those of Walter Williams. Therapists who work with CP
offenders know that most of them are men with active fantasy lives, generalized
antinomian tendencies, and often serious substance abuse problems, but they do not have
histories of child abuse or even primarily pedophilic orientations.

I know nothing about Haas' motivation in collecting this garbage, but if he only got 2 0
months (compared to the federal guideline of 150 months), it is clear that he was never
found to have molested. I have known Holt Parker over 40 years, although I would not call
him a friend and I find his scholarship both opportunistic in its political correctness and
simple-minded in its structuralism. I am probably the only classicist who was entirely
unsurprised by his arrest, based on what I have seen over the years of his personality and
thinking. Collecting sado-masochistic and scatological child pornography is completely
consistent with his ideology about human sexuality as primarily a medium of domination
and exploitation among unambiguous superiors and inferiors. In his twisted way, he
probably thought this material would help him prove that thesis, if only to himself. I think it
had nothing to do with any personal sexual attraction to small children.

Not a single one of these men can legitimately be called a "documented pedophile," and
doing so is grossly unethical. Your discussion of me demonstrates equal carelessness. You
have obviously never read the academic articles in which I discuss modern criminal justice
issues, informed by far wider reading in hard behavioral and social science than you or any
other classicist can claim to have done. Instead, you quote from the article of some no-name
journalist from an obscure website who also clearly has no knowledge of the scientific
literature, who in turn quotes some sentence fragments out of context. Anyone with even
the most cursory knowledge of American history from 1885-1930 would agree with my
characterization of it as a "nai"ve and self-righteous era" in which middle- and upper-class
Protestant reformers introduced an array of counter-productive "morals" legislation not so
much to protect their own daughters as to regulate the fertility of what they deemed to be
the inferior classes, principally Catholic immigrants and African-Americans. Their ideology
was explicitly racist and eugenicist.

You are asserting a bald falsehood when you claim that I am "on record as believing child­
sex (or at least boy-sex) should be decriminalized." This wording implies that I believe all
sexual contact with children should be permissible. Would you claim that the legislative
institutions of Germany, Italy, France, Sweden, and most continental European states, as
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well as of advanced Asian states like Taiwan and South Korea, are on record
decriminalizing"child-sex"? I have never advocated that the age of consent should be lower
than what those states have legislated. There exist no studies suggesting that child abuse or
adverse psychological effects are higher in those jurisdictions than in the much more
restrictive legal regime of the US; indeed, evidence suggests those societies peform better
with the mental health and educational attainment of adolescents. I have said that we
should consider a different age of consent for boys than for girls, based on the
overwhelming psychological evidence that most boys (especially gay and bi-sexual boys)
do not feel harmed by consensual sexual interactions, even with an older partner, whereas
girls are far more likely to regret the experience. The US Supreme Court specifically upheld
different ages of consent in a 1982 decision. Most people are unaware that prior to the late
1970s and 1980s age of consent laws in the US did not apply to boys at all, and their
extension to cover boys emerged out of Anita Bryant's homophobic"Save Our Children"
campaign, AIDS panic, and later debunked stories of widespread child abductions,
ritualized Satanic abuse, recovered memories, and rampant day care abuse by innocent gay
and lesbian caregivers.

You claim authority to pontificate on this issue not based on any serious academic study of
it, such as I have done, but on your own personal experience of"grooming" as a four year­
old. Although you give us little information with which to judge what happened to you, you
imply that it was more the hysterical reaction of the adults around you that upended your
life than whatever this alleged predator actually did to you. That you only speak of
grooming suggests that it never progressed to actual molestation. By introducing this
personal experience, you frame everything else in your blog as an expression of emotion
and self-proclaimed trauma, rather than sound scholarship. Someone interested in a four­
year old girl has no relation to the Greek pederast and reveals nothing about correct social
policy in regard to the sexual self-determination of gay teenagers, which are the issues I
discuss.

In contrast, I was never molested nor have I ever molested anyone or wanted to. My own
orientation is exclusively toward those above the legal age. For that reason, I am able to be
completely objective and dispassionate in my scholarly work on this subject, unlike many
activists who prove incapable of grasping the necessary distinctions between a four year­
old and a fourteen year-old, between a male and female adolescent, between queer and
straight adolescents, and between coercive and consensual acts.

My interest in the issue began as a classicist questioning why the elite institution of Greek
pederasty was socially functional and non-pathological in that culture, whereas the same
type of relationship is pathologized as a heinous crime in the US today. My interest has also
been influenced by my social justice activism on behalf of GLBTQ prisoners: GLBTQ persons
are incarcerated at triple the rate of the general population, and much of it has to do with
discriminatory sentencing and disproportionate enforcement of statutory rape laws,
especially in cases involving consensual relationships with teenagers that would not even
be illegal in the countries I named above. It is also framed by my personal acquaintance
with many gay men who feel that their teenage encounters with more experienced and
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older partners were developmentally positive for them. It has nothing to do with wanting
to make life easier for the kind of people you call pedophiles.

If you are refusing to let your undergraduate students benefit from some of the best
informed scholarship on ancient sexuality because of your own unjustified speculation
about scholars' personal motives, orientation, or ideology, you are depriving them of a good
education. What could be more elitist for faculty at an urban public college? I also note that
you claim to be teaching a graduate seminar on "Professional Ethics in Classics." Is it ethical
to accuse people you do not know of being pedophiles or holding views they do not hold,
especially when, as in my case, you have not even read the relevant publications? I think it
is high time that you do some serious introspection about your own professional ethics
before you presume to lecture those of us who clearly know a lot more about this subject
than you do. Indeed, it might be a good exercise to show your seminar your blog and this
letter responding to it, so that your students can assist you in developing proper standards
of respectful scholarly conduct.

You mention the fact that I have sued a student in federal court, but you do not mention
that the student in question is a privileged sorority girl and aspiring model whose father is
a prominent right-wing social-conservative political operative closely associated with the
political machine of Texas' deeply homophobic Lieutenant Governor. I have reason to
believe that certain self-righteous classicists, with as little knowledge of these scholarly
issues as you, were egging this nai"ve girl on and encouraging her to make the reckless
statements she made in her futile campaign to have me removed. You also seem to be
unaware that two major media outlets have either corrected or removed their stories and
reached a legal settlement with me. My lawsuit also lists ten John/Jane Does. It might be to
my advantage to name a foolish senior classicist as one of them. Are you confident enough
in your assertions that you want to volunteer for that role?

If I don't see your blog taken down by October 15, I will refer the matter to my attorney,
who is a Harvard JD and successful specialist in this type of litigation. You would do better
to stick with a subject you actually know something about, like Roman coins. Attacking
fellow classicists does nothing to improve society or even this rather small and narrow
specialty. Leave the social justice activism to those of us who actually know what we are
talking about and are working in tangible ways to reduce the harm done to our
communities by paternalistic/patriarchal legal codes and a hypertrophied carceral state.

                                            Quite sincerely yours,


                                          ��
                                           Thomas K. Hubbard
                                           James R. Dougherty, Jr. Centennial Professor
                                                   of Classics
                                           Faculty Affiliate, Center for Womens' and Gender
                                           Studies, Rapoport Center for Human Rights &
                                           Justice, Center forEuropean Studies
